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5
6                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
7
     LAURIE KRAUSE, on Behalf of Herself
                                      )
8    and on Behalf of All Others Similarly
                                      ) Case Number: ___________________
9    Situated,                        )
                                      )
10        Plaintiff(s),               )
                                      )
11                                    ) COMPLAINT – COLLECTIVE ACTION
12        vs.                         )
                                      )
13   EXPEDIA GROUP, INC. and EGENCIA, )
     LLC,                             )
14                                    )
15        Defendants.                 )
                                      )
16
                              PLAINTIFF’S COLLECTIVE ACTION COMPLAINT
17
             1.       This case concerns a potential collective action against Defendants Expedia Group,
18
     Inc. and Egencia, LLC. (hereinafter referred to as “Defendants”). Defendants misclassify their
19
     workers as independent contractors instead of as employees. In particular, Defendants misclassify
20
     their customer service representatives, also known as “travel consultants,” as independent
21
     contractors instead of as employees and enforced this illegal policy throughout the United States.
22
     In doing so, Defendants deny those workers the overtime they are entitled under the Fair Labor
23
     Standards Act (“FLSA”).
24           2.       Through the conduct described in this Complaint, Defendants have violated federal
25   law. Accordingly, Plaintiff brings this case as a collective action under the FLSA and seeks, on
26   behalf of herself and all similarly situated employees, unpaid wages, liquidated damages, penalties,
27   interest, attorneys’ fees, and litigation costs.
28
     COMPLAINT - Page 1                      The Paul Woods Law Firm          Kennedy Hodges, LLP
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1                                      JURISDICTION AND VENUE
2            3.       This Court has subject matter jurisdiction over Plaintiff’s federal claims pursuant
3    to 28 U.S.C. § 1331 and 29 U.S.C. § 216(b).
4            4.       Defendants are subject to personal jurisdiction in Washington because their
5    headquarters are located int his State and they do business in this judicial district.
6            5.       Venue is proper in this district under 28 U.S.C. § 1391 because a substantial part

7    of the acts or omissions giving rise the claims in this Complaint took place in this district. In

8    particular, the decision to classify the Plaintiff and proposed Class Members as independent

9    contractors was made in this district. Moreover, personnel files, records, and witnesses are located

10   within this district.

11                                                PARTIES

12           6.       Plaintiff Laurie Krause is an adult resident of Melbourne, Florida. Her written

13   consent form is attached hereto as Exhibit “A.”

14           7.       Defendant Expedia Group, Inc. is a foreign corporation with its headquarters in

15   Bellevue, Washington. Said Defendant can be served with process by serving its registered agent,

16   the National Registered Agents, Inc., at 711 Capitol Way S Suite 204, Olympia, WA, 98501.

17           8.       Defendant Egencia, LLC. is a foreign limited liability company with its

18   headquarters in Bellevue, Washington. Said Defendant can be served with process by serving its

19   registered agent, the National Registered Agents, Inc., at 711 Capitol Way S Suite 204, Olympia,

20   WA, 98501.

21           9.       The “Class Members” are all current and former travel consultants classified as

22   independent contractors at any time from three years prior to the filing of the Complaint to the

23   present.

24           10.      At all times relevant herein, Defendants were joint employers and/or a single

25   enterprise under the FLSA. They share officers and directors. They share the same physical

26   address. They have the same accounting and payroll operations. They share control over hiring,

27   firing, payroll, advertising, and overhead decisions. Further, the companies share the same clients

28   and customers. Moreover, they employ workers to achieve the same business purpose - to provide
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1    online travel and hotel booking services. Indeed, Defendant Expedia Group specifically lists
2    Defendant Egencia as a company within its “brand.” See https://www.expediagroup.com/, last
3    visited January 17, 2019).
4                                             COVERAGE
5           11.     At all material times, Defendants have been employers within the meaning of 3(d)
6    of the FLSA. 29 U.S.C. § 203(d).

7           12.     At all material times, Defendants have been enterprises within the meaning of 3(r)

8    of the FLSA. 29 U.S.C. § 203(r).

9           13.     At all material times, Defendants have been enterprises or enterprises in commerce

10   or in the production of goods for commerce within the meaning of 3(s)(1) of the FLSA because

11   Defendants have had and continue to have employees engaged in commerce. 29 U.S.C. §

12   203(s)(1).

13          14.     Furthermore, Defendants have an annual gross business volume of not less than

14   $500,000.

15          15.     At all material times, Plaintiff and each of the Class Members were employees who

16   engaged in commerce or in the production of goods for commerce as required by 29 USC § 207.

17                                               FACTS

18          16.     Defendants operate an online travel management company. Defendants provide

19   booking services for businesses and individuals. That is, individuals and business can purchase

20   tickets, hotel reservations, and vehicle reservations directly through Defendants’ website and

21   customer portal.

22          17.     To perform these services, Defendants employ “travel consultants” but classifies

23   them as independent contractors.

24          18.     The travel consultants work across the country for Defendants.

25          19.     Travel consultants communicate with the customers of Defendants and answer

26   questions regarding booking reservations. The travel consultants communicate by chat, email,

27   inbound phone, and outbound phone.

28          20.     The travel consultants work from home.
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1           21.      They are required to use Defendants’ computer software and follow Defendants’
2    policies and procedures.
3           22.      They are required to work a minimum number of hours per week.
4           23.      They are told that they must handle at least 4 customer calls per hour with an
5    average handle time that Defendants establish.
6           24.      They are required to undergo a background check by Defendants and must meet

7    Defendants’ required qualifications to get a job.

8           25.      Defendants provide training to the travel consultants in how they are to perform

9    their duties for Defendants.

10          26.      Defendants pay the travel consultants a set amount per minute worked.

11          27.      The travel consults regularly work more than 40 hours per week but are not paid

12   overtime.

13          28.      Plaintiff has worked for Defendants since July 2014.

14          29.      Plaintiff was classified by Defendants as an independent contractor.

15          30.      The Class Members were also classified as independent contractors.

16          31.      The Plaintiff and Class Members are not independent contractors, but are

17   employees.

18          32.      The Plaintiff and Class Members were paid based upon the number of minutes

19   worked for Defendants.

20          33.      Plaintiff regularly worked over 40 hours each week.

21          34.      However, when she worked more than 40 hours, she was not paid any overtime

22   wages for those hours worked in excess of 40.

23          35.      Like Plaintiff, the Class Members regularly worked more than 40 hours each week

24   and were not paid overtime for those hours worked in excess of 40 in a workweek.

25          36.      Given that they were misclassified as independent contractors, they were denied

26   overtime pay.

27          37.      The Class Members performed similar duties as Plaintiff.

28          38.      Class Members worked across the US.
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1           39.       While working for Defendants, Plaintiff interacted with and became familiar with
2    the manner in which Defendants classified the Class Members and paid the Class Members.
3    Therefore, Plaintiff has first-hand, personal knowledge of the same pay violations in Defendants’
4    operations.
5           40.       Defendants paid Plaintiff and the Class Members in the same manner – by the
6    minute.

7           41.       Defendants hired/fired, issued pay, supervised, directed, disciplined, scheduled and

8    performed all other duties generally associated with that of an employer with regard to Plaintiff

9    and the Class Members.

10          42.       In addition, Defendants instructed Plaintiff and the Class Members about when and

11   how they were to perform their work.

12          43.       Moreover, the following conduct demonstrates that Defendants acted as an

13   employer with respect to Plaintiff and the Class Members:

14                 a. Defendants required Plaintiff and the Class Members to begin their work at a set

15                    time;

16                 b. Defendants paid the Plaintiff and Class Members a non-negotiable rate, like

17                    employees;

18                 c. Defendants required Plaintiff and the Class Members to request time off in advance

19                    and have that time away from work preapproved;

20                 d. Defendants set forth the required procedures to be followed and the order and

21                    manner in which Plaintiff and the Class Members were to perform their work;

22                 e. Plaintiff and the Class Members faced termination if they failed to perform their

23                    work in the manner required by Defendants;

24                 f. Plaintiff’s and the Class Members’ services were integrated into Defendants’

25                    operations;

26                 g. Plaintiff and the Class Members constituted the workforce without which

27                    Defendants could not perform their services;

28
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1                 h. Plaintiff and the Class Members worked for Defendants for long periods of time as
2                      is common with employees; and
3                 i.   Defendants maintained the right to discharge Plaintiff and the Class Members at
4                      any time.
5           44.        Furthermore, the degree of investment Plaintiff and the Class Members made to
6    perform their work pales in comparison to the expenses Defendants incurred. Defendants provided

7    the computer software and web portal for Plaintiff and the Class Members to do their work.

8           45.        Further, Plaintiff and the Class Members performed work that was integral to the

9    operations of Defendants.

10          46.        Moreover, Defendants supervised and controlled the activities of Plaintiff and the

11   Class Members. Defendants monitored their work, reviewed their work, issued instructions, set

12   handling times, required a minimum of four calls per hour, and directed the work in the manner

13   deemed sufficient by Defendants.

14          47.        Despite these facts, Defendants improperly classified Plaintiff and the Class

15   Members as independent contractors and not as employees.

16          48.        Defendants misclassified the Plaintiff and Class Members as independent

17   contractors to avoid their obligations to pay these employees overtime.

18          49.        However, at all times, Plaintiff and the Class Members were employees of

19   Defendants.

20          50.        No exemption applies to Plaintiff or the Class Members.

21          51.        Defendants’ method of paying Plaintiff and the Class Members in violation of the

22   FLSA was willful and was not based on a good faith and reasonable belief that their conduct

23   complied with the FLSA. Defendants’ misclassification was not by accident, but a well thought

24   out scheme to reduce their labor costs. Defendants knew the requirement to pay overtime to their

25   employees, but intentionally and/or recklessly chose not to do so. Accordingly, Defendants’

26   violations of the FLSA were willful.

27                                 COLLECTIVE ACTION ALLEGATIONS

28          52.        Plaintiff incorporates by reference the allegations in the preceding paragraphs.
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1           53.     Plaintiff has actual knowledge that the Class Members have also been denied
2    overtime pay for hours worked over forty (40) hours per workweek as a result of Defendants’
3    misclassification of their employees.
4           54.     Plaintiff’s knowledge is based on her personal work experience and through
5    communications with other workers of Defendants.
6           55.     Other workers similarly situated to the Plaintiff worked for Defendants throughout

7    the United States, but were not paid overtime at the rate of one and one-half their regular rate when

8    those hours exceeded forty (40) hours per workweek because Defendants misclassify them as

9    independent contractors.

10          56.     Although Defendants permitted and/or required the Class Members to work in

11   excess of forty (40) hours per workweek, Defendants have denied them full compensation for their

12   hours worked over forty (40).

13          57.     Defendants have classified and continue to classify the Class Members as

14   independent contractors.

15          58.     The Class Members perform or have performed the same or similar work as

16   Plaintiff and were misclassified as independent contractors by Defendants.

17          59.     The Class Members are not exempt from receiving overtime pay under the FLSA.

18          60.     As such, the Class Members are similar to Plaintiff in terms of relevant job duties,

19   pay structure, misclassification as independent contractors and/or the denial of overtime pay.

20          61.     Defendants’ failure to pay overtime compensation at the rate required by the FLSA

21   results from generally applicable policies or practices, and does not depend on the personal

22   circumstances of the Class Members.

23          62.     The experiences of Plaintiff, with respect to her pay, hours, and duties are typical

24   of the experiences of Class Members.

25          63.     The specific job titles or precise job responsibilities of each Class Member do not

26   prevent collective treatment.

27          64.     All Class Members, irrespective of their particular job requirements, are entitled to

28   overtime compensation for hours worked in excess of forty (40) during a workweek.
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1           65.     Although the exact amount of damages may vary among Class Members, the
2    damages for Class Members can be easily calculated by a simple formula. The claims of all Class
3    Members arise from a common nucleus of facts. Liability is based on a systematic course of
4    wrongful conduct by Defendants that caused harm to all Class Members.
5                   As such, the class of similarly situated Plaintiffs is properly defined as follows:
6                   All current and former travel consultants classified as independent
                    contractors by Defendants at any time from three years prior to the
7                   filing of the Complaint to the present.
8                                         CAUSES OF ACTION
9           66.     Plaintiff incorporates the preceding paragraphs by reference.
10          67.     This count arises from Defendants’ violation of the FLSA 29 U.S.C. 201, et seq.,
11   for its failure to pay Plaintiff and the Class Members their overtime pay for the time worked in
12   excess of 40 hours in a workweek.
13          68.     For all hours worked in excess of 40 hours in a workweek, Plaintiff and the Class
14   members were entitled to be paid one and one-half times their regular rates of pay.
15          69.     Defendants violated the FLSA by failing to compensate Plaintiff and the Class
16   members consistent with the FLSA with respect to the amount of work actually performed over
17   40 hours per week.
18          70.     Plaintiff, on behalf of himself and the FLSA Class, also seeks reimbursement for
19   any and all work related expenses incurred primarily for the benefit of Defendants. Without
20   reimbursement for these expenses in those weeks when they worked overtime hours, Plaintiff and
21   the FLSA Class Members will not receive pay at time and one half their regular rate of pay for all
22   hours worked over 40.
23          71.     Defendants’ failure to pay overtime to Plaintiff and the Class Members, in violation
24   of the FLSA, was willful and was not based on a good faith and reasonable belief that their conduct
25   did not violate the FLSA. The foregoing conduct, as alleged, constitutes a willful violation of the
26   FLSA within the meaning of 29 U.S.C. § 255(a).
27
28
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1           72.       Plaintiff will seek to certify Count I as a collective action and intends to recover
2    all back wages, liquidated damages, penalties and prejudgment interest thereon due to Plaintiff and
3    the other employees he represents.
4                                             JURY DEMAND
5           73.      Plaintiff hereby demands trial by jury on all issues.
6                                                  PRAYER

7           74.      For these reasons, Plaintiff prays for:

8                 a. An order designating the FLSA Class as a collective action and authorizing notice

9                    pursuant to 29 U.S.C. § 216(b) for the FLSA Class Members to permit them join

10                   this action by filing a written notice of consent;

11                b. A judgment against Defendants awarding Plaintiff and the FLSA Class Members

12                   all their unpaid overtime compensation, reimbursement of expenses, liquidated

13                   damages, and statutory penalties;

14                c. An order awarding attorneys’ fees, costs, and expenses;

15                d. Pre- and post-judgment interest at the highest applicable rates; and

16                e. Such other and further relief as may be necessary and appropriate.

17
18
19                                                  Respectfully submitted,

20
                                                    By: /s/ Paul Woods
21                                                  Paul Woods
22                                                  Washington Bar No.
                                                    The Paul Woods Law Firm, PLLC
23                                                  1001 Fourth Avenue, Suite 3200
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24
                                                    paul@paulwoodslawfirm.com
25
26                                                  LOCAL COUNSEL

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1                                         AND
2
3                                           KENNEDY HODGES, L.L.P.
4
                                           By: /s/ Don J. Foty
5                                             Don J. Foty (pending admission pro hac vice)
6                                             dfoty@kennedyhodges.com
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10                                         ATTORNEYS FOR PLAINTIFF AND CLASS
                                           MEMBERS
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